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8                              IN THE UNITED STATES DISTRICT COURT

9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10   RALPH COLEMAN, et al.,

11                  Plaintiffs,                     No. CIV S-90-0520 LKK JFM P

12           vs.

13   ARNOLD SCHWARZENEGGER,
     et al.,
14
                    Defendants.                     ORDER
15                                         /

16                  The court is in receipt of a letter from inmate Kenny Morrow, an asserted member

17   of the plaintiff class. The plaintiff class is represented by counsel in this matter.

18                  Good cause appearing, IT IS HEREBY ORDERED that the Clerk of the Court is

19   directed to send a copy of inmate Morrow’s letter (document # 1710) to counsel for plaintiffs and

20   to the Special Master.

21   DATED: November 17, 2005.

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